     Case 1:06-cr-00018-PB   Document 14   Filed 01/30/06   Page 1 of 4




              UNITED STATES DISTRICT COURT FOR THE
                    DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 06-cr-018-02-PB

Travis Blodgett



                  ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on January 30,

2006, for the purpose of determining whether to detain defendant,

Travis Blodgett, who has been indicted on one count of bank

robbery.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.         In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.            18 U.S.C.

§ 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall

consider the following: (1) the nature and circumstances of the
     Case 1:06-cr-00018-PB   Document 14   Filed 01/30/06   Page 2 of 4




offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).     For its part, the government is

required to offer a preponderance of the evidence to prove risk

of flight.   See Patriarca, 948 F.2d at 792-93.

     In the case at hand, the Indictment itself constitutes

probable cause to believe that the offenses charged have been

committed and that the defendant has committed them.

     Here, I find that the government has met its burden with

regard to risk of flight and danger to the community.

Specifically, this is a crime of violence in which the weight of



                                    2
     Case 1:06-cr-00018-PB   Document 14   Filed 01/30/06   Page 3 of 4




the evidence is substantial.     He is tied to this violent crime

(gun to teller’s head and second starting pistol) by a

confidential source involved in the crime, by a witnesses who saw

the “get away” car in which defendant’s inscribed Bible was later

found.   He has a criminal record, numerous parole violations, was

on bail at the time and has insufficient ties to overcome the

presumptions and proffer.

     I am satisfied from the representations offered during the

hearing that no condition or combination of conditions will

reasonably assure the safety of the community.

     Upon full consideration of the arguments offered by the

government and defense, I am satisfied that the defendant poses a

risk of flight and danger to the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.   The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                On


                                    3
        Case 1:06-cr-00018-PB   Document 14   Filed 01/30/06   Page 4 of 4




order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.


                                    ______________________________
                                    James R. Muirhead
                                    United States Magistrate Judge


Date:    January 30, 2006

cc:      Donald A. Feith, Esq.
         Richard N. Foley, Esq.
         Jennifer R. Jones, Esq.
         U.S. Marshal
         U.S. Probation




                                       4
